        Case 2:05-cr-00113-WBS Document 255 Filed 05/29/08 Page 1 of 2




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 8                          UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

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11   SERJIO CURIEL, SR.,
                                                         NO. CR. S-05-113 LKK
12              Petitioner,

13        v.                                                  O R D E R

14   UNITED STATES OF AMERICA,

15              Respondent.
                                             /
16

17        The court is in receipt of the defendant’s request for a copy

18   of his transcript for the purposes of pursuing his motion under 28

19   U.S.C. § 2255, in which he moves to vacate, set aside or correct

20   the sentence issued by the court on April 17, 2007. A petitioner

21   in forma pauperis moving under 28 U.S.C. § 2255 is entitled to a

22   copy of his transcript at the expense of the United States upon a

23   showing   that   his    petition   is       not   frivolous   but   presents   a

24   substantial question. 28 U.S.C. § 753(f).

25        Here, the defendant-petitioner has filed a skeletal petition

26   under § 2255, which he seeks to amend. His petition alleges several

                                             1
        Case 2:05-cr-00113-WBS Document 255 Filed 05/29/08 Page 2 of 2




 1   substantial Constitutional questions and therefore does not appear

 2   frivolous. His request for a transcript at the expense of the

 3   United States is therefore GRANTED.

 4        Once the Court Reporter provides the requested transcripts to

 5   the Clerk, the Clerk is directed to mail them to the defendant-

 6   petitioner.

 7        IT IS SO ORDERED.

 8        DATED: May 29, 2008.

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